                        UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION
                              Case No.: 7:13-cv-145-F

LISA COOPER,                                  )
                                              )
                                              )
                     Plaintiff,               )              MEMORANDUM OF LAW IN
                                              )         SUPPORT OF DEFENDANT’S MOTION
v.                                            )       TO DISMISS PLAINTIFF’S THIRD AMENDED
                                              )                    COMPLAINT
                                              )
                                              )        Fed. R. Civ. P. 12(b)(1) and (6) and Local Civil
                                              )                        Rules 7.1 and 7.2
THE SMITHFIELD PACKING                        )
COMPANY, INC.,                                )
                                              )
                     Defendant.               )

       Pursuant to Federal Rule of Civil Procedure 12(b)(1) and (6) and Local Civil Rules 7.1

and 7.2, Defendant, Smithfield Farmland Corp.1 (“Smithfield” or the “Company”), by counsel,

submits this memorandum of law in support of its Motion to Dismiss Plaintiff Lisa Cooper’s

(“Plaintiff” or “Cooper”) Third Amended Complaint for lack of subject matter jurisdiction and

for failure to state a claim upon which relief can be granted.

                                  PRELIMINARY STATEMENT

       Plaintiff’s Third Amended Complaint, filed with this Court on September 9, 2014 [DE-

28], represents her fourth attempt to press a claim against Smithfield of hostile work

environment sexual harassment under Title VII. Plaintiff’s allegations in support of her claim

have, for lack of a better description, evolved over the course of this proceeding. They now bear

scant resemblance to the allegations Plaintiff originally asserted in support of her administrative

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           Plaintiff’s pleading incorrectly identifies Defendant as “The Smithfield Packing
Company, Inc.” On April 28, 2014, Defendant, The Smithfield Packing Company, Incorporated,
merged with Farmland Foods, Inc. The name of the merged corporation, which is now reflected
in the initial paragraph, is “Smithfield Farmland Corp.”
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charge of discrimination predicate to her claim. In an apparent attempt to save a claim that this

Court has already dismissed once for lack of factual support, Plaintiff lards her Third Amended

Complaint with myriad allegations that not only were nowhere in her original Complaint, but

which are absent from her administrative charge. Ultimately, this dooms her Third Amended

Complaint.

       Plaintiff’s charge, which was referenced in but not attached to the Third Amended

Complaint or any prior pleading, was filed with the EEOC on December 21, 2011. [DE-28, ¶ 4].

Plaintiff alleged the following in support of her claim of sexual harassment:

       During my employment, I was the victim of constant sexual harassment on the
       part of Tommy Lowery, Superintendent. Mr. Lowery would frequently tell me
       that he wanted to be with me and that he loved me. Mr. Lowery would at least
       on a weekly basis brush up against me sexually. Mr. Lowery had power over me
       in that he ran the office and would do as he pleased. I had been on the job since
       December 1995 and did not want to lose it. Finally, I could no longer tolerate that
       harassment.

       Because of the harassment, I attempted to transfer to another department.
       However, I was told that allegedly there were no vacancies.

       I reported the sexual harassment but no effective corrective action was taken.
       Allegedly Jamie Pope, Human Resources Representative, conducted an
       investigation into my allegations. However, if he conducted an investigation, he
       did not contact all of my witnesses.

(Ex. A) (emphasis added).2 Although Plaintiff stated that her claims represented a “continuing

action,” Plaintiff indicated that the earliest date of discrimination was July 18, 2011, and the



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         Plaintiff’s charge (EEOC Charge No.: 433-2012-00286) is attached hereto as Exhibit A.
The attachment of the Charge to the instant Motion to Dismiss does not convert this motion into
one for summary judgment. Courts may consider an EEOC charge either as an undisputed
document referenced in the Complaint and central to the plaintiff’s claim, or as information
which is a matter of public record, without converting a motion to dismiss into a summary
judgment motion. See, e.g., Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322
(2007) (in analyzing a Rule 12(b)(6) motion, a court may consider “documents incorporated into
the complaint by reference, and matters of which a court may take judicial notice.”); Katyle v.
Penn Nat’l Gaming, Inc., 637 F.3d 462, 466 (4th Cir. 2011) (same); Jones v. McNutt Serv.
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latest was July 19, 2011. (Ex. A). More significantly, with regard to sexual harassment, Plaintiff

claimed only that Lowery “would frequently tell me he wanted to be with me and that he loved

me,” and that Lowery would “at least on a weekly basis brush up against [Plaintiff] sexually.”

(Ex. A).

       The Third Amended Complaint alleges a dramatically different series of events. Plaintiff

now alleges that Lowery repeatedly demanded sexual intercourse and threatened to terminate her

employment or even kill Plaintiff if she refused. Specifically, the Third Amended Complaint

alleges:

       -       The Plaintiff contends that during this period of time Lowery asked her on
               a regular basis, at least once per week, to have sexual intercourse with
               him. Each time the plaintiff rejected Lowery’s advances, Lowery stated
               that he would kill the plaintiff for refusing to have sexual intercourse
               with him. [DE-28, ¶12].

       -       The Plaintiff contends that in approximately January 2011, Lowery began
               relentlessly pursuing her for an intimate relationship, and either explicitly
               or implicitly implied that her submission to his demands was a condition
               of continued employment with the defendant company. [DE-28, ¶17].

       -       The Plaintiff contends that Lowery told her in 2011 that if she did not
               have sexual intercourse with him, he would fire her and he would kill
               her. [DE-28, ¶18].

       -       The Plaintiff contends that after she complained to human resources in
               approximately April, 2011, the harassment by Lowery increased. Based
               upon information and belief, the Plaintiff contends that Lowery was aware
               that she had complained to Human Resources because he referenced her
               internal complaints when threatening her and making sexual comments
               to her. The Plaintiff further contends that Lowery threatened to kill her
               if she continued to report him to upper management. . . . [DE-28, ¶26].


Group, Inc., No. 5:10-cv-84-D, 2010 U.S. Dist. LEXIS 75117 (E.D.N.C. 2010) (unpublished)
(same); Rogan v. Giant Eagle, Inc., 113 F. Supp. 2d 777, 782 (W.D. Pa. 2000), aff’d 276 F.3d
579 (3d Cir. 2001) (“It is clear to us that under the applicable legal standard we may consider the
EEOC charge . . . either as undisputed documents referenced in the complaint or central to the
plaintiff’s claim, or as information which is a matter of public record, without converting this
motion to one [for] summary judgment”).

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These highlighted allegations are the clear focal point of Plaintiff’s current claim, but are

completely absent from Plaintiff’s administrative charge.

       The contrast does not end there. Whereas Plaintiff’s charge merely alleged that Lowery

would frequently tell Plaintiff he “wanted to be with her” (Ex. A), the Third Amended Complaint

alleges a barrage of sexually explicit comments of an extraordinarily graphic and threatening

nature starting as far back as January 2007, none of which was detailed in Plaintiff’s charge. For

example, the Third Amended Complaint alleges:

       -       The Plaintiff contends that beginning in January 2007 and extending
               through December 31, 2007, she was subjected to sexual harassment on
               more than twenty (20) occasions by Superintendent Tommy Lowery
               which mostly consisted of sexually explicit comments. [DE-28, ¶9].

       -       The Plaintiff contends that the sexually explicit comments mostly included
               statements about how sexy she looked or how big her breasts and rear
               were, and how much Lowery wanted “to be with her”. [DE-28, ¶10].

       -       The Plaintiff contends that over the years 2008, 2009 and 2010, the
               harassment continued on at least a monthly basis. However, beginning in
               January, 2011 the harassment worsened and included, but was not limited
               to, sexually explicit statements made to her, sexual advances made
               toward her, inappropriate sexual contact and making continuous
               physical and emotional threats to the Plaintiff. [DE-28, ¶11].

       -       The Plaintiff contends that during this period of time Lowery told her on a
               regular, almost daily basis that he would like to get her on her “fucking”
               back, in a sexual position. The plaintiff further contends that Lowery told
               her on a daily basis that he was watching her at all times, having sexual
               fantasies about engaging in sexual intercourse with her. The plaintiff
               further contends that Lowery asked her if he could come to her house for
               the purpose of engaging in sexual intercourse on a regular, almost daily
               basis. [DE-28, ¶13].

       -       The Plaintiff further contends that Lowery asked one of the plaintiff’s
               male co-workers if he had engaged in sexual intercourse with her, and
               he also asked whether the male co-worker knew if the plaintiff had
               sexual intercourse with any men other than her husband. [DE-28, ¶14].

       -       The Plaintiff contends that beginning in January 2011, Lowery forced her
               to spend time working physically closely with him in the office and

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               physically harassing her as she would enter and/or exit the office,
               making significant, inappropriate inquiries regarding her personal life
               and inappropriately disclosing matters about his personal life to her.
               [DE-28, ¶15].

       -       The Plaintiff contends that in 2011 Lowery would ask her to describe to
               him the manner in which she engaged in sexual intercourse with her
               husband. The Plaintiff further contends that Lowery would describe to
               her the manner in which he engaged in sexual intercourse with other
               women, and the way he would like to engage in sexual intercourse with
               her. [DE-28, ¶16].

(Ex. A).

       Plaintiff’s omission of these allegations from her charge is not without legal significance.

The scope of her right to pursue this action depends solely on the contents of her original charge,

and “[o]nly those discrimination claims stated in the initial charge, those reasonably related to

the original [EEOC] complaint, and those developed by reasonable investigation of the original

[EEOC] complaint may be maintained in a subsequent Title VII lawsuit.” Balas v. Huntington

Ingalls Indus., 711 F.3d 401, 408 (4th Cir. 2013); Chacko v. Patuxent Inst., 429 F.3d 505, 506

(4th Cir. 2005) (emphasis added). In short, Plaintiff’s omission from her administrative charge

of what amount to outcome determinative allegations raised for the first time in her Third

Amended Complaint deprives this Court of jurisdiction over those portions of her current claim

and warrants their dismissal under Rule 12(b)(1). Id.

       What is left of Plaintiff’s Third Amended Complaint fails to state a claim upon which

relief can be granted under Rule 12(b)(6). The portions of Plaintiff’s harassment claim she did

adequately preserve during the EEOC phase of the case reflect conduct repeatedly found lacking

in sufficient severity or pervasiveness to support a claim of harassment under Title VII. See e.g.,

Murray v. City of Winston-Salem, N.C., 203 F. Supp. 2d 493, 498-99 (M.D.N.C. 2002) (finding

no hostile work environment where supervisor yelled at plaintiff during meetings and had an



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intimidating management style, gave preferential treatment to an alleged paramour, made

comments about his past sexual encounters and rotated his pelvis, kissed paramour in front of

plaintiff on two occasions, put his arm around plaintiff after she became upset in a meeting,

made a comment about how plaintiff looked in jeans, touched plaintiff’s thigh twice with his

thumb during crowded meetings and made “ummm” noises and stared at plaintiff as she walked

by him).

       In short, the jurisdictional defects and pleading deficiencies present doom Plaintiff’s

Third Amended Complaint. Plaintiff’s Third Amended Complaint should be dismissed with

prejudice for the reasons that follow.

                 STATEMENT OF FACTS AND PROCEDURAL HISTORY

       The facts and procedural history relevant to the issues raised in this motion are presented

in the Third Amended Complaint and Preliminary Statement, above. Smithfield disputes the

majority of the factual allegations in the Third Amended Complaint, but acknowledges that they

are presumed to be true and correct for purposes of this motion only. Anderson v. Sara Lee

Corp., 508 F.3d 181, 188 (4th Cir. 2007).

                                          ARGUMENT

A.     Standard of Review

       1.      Rule 12(b)(1) Standard

       A case should be dismissed under Fed. R. Civ. P. 12(b)(1) if a federal court lacks the

authority to hear the dispute. The district courts of the United States are courts of limited subject

matter jurisdiction. Exxon Mobil Corp. v. Allapattah Servs., Inc, 545 U.S. 546, 552 (2005).

“They possess only the jurisdiction authorized them by the United States Constitution and by

federal statute.” U.S. ex rel. Vuyyuru v. Jadhav, 555 F.3d 337, 347 (4th Cir. 2009) (citing



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Bowles v. Russell, 551 U.S. 205 (2007)). As such, when a federal district court lacks subject

matter jurisdiction over an action, it must be dismissed. Id. “The burden of proving subject

matter jurisdiction on a motion to dismiss is on the plaintiff, the party asserting jurisdiction.”

Adams v. Bain, 697 F.2d 1213, 1219 (4th Cir. 1982).

       2.      Rule 12(b)(6) Standard

       A motion to dismiss pursuant to Fed. R. Civ. P 12(b)(6) for failure to state a claim upon

which relief can be granted tests the sufficiency of a complaint. Francis v. Giacomelli, 588 F.3d

186, 192 (4th Cir. 2009). When reviewing a Rule 12(b)(6) motion, the district court assumes all

facts alleged in the complaint to be true, and should grant the motion if the complaint does not

allege “enough facts to state a claim to relief that is plausible on its face.” Id. See also Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007). The plausibility standard requires a plaintiff to

demonstrate more than a “sheer possibility that a defendant has acted unlawfully.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Id.

B.     The Court Lacks Subject Matter Jurisdiction Over Those Portions of Plaintiff’s
       Harassment Claims Not Previously Alleged in Her Administrative Charge of
       Discrimination.

       An employee seeking redress for discrimination under Title VII cannot file suit until he

or she has exhausted the administrative process. See 42 U.S.C. § 2000e-5(b). Indeed, “[a]

failure by the plaintiff to exhaust administrative remedies concerning a Title VII claim deprives

the federal courts of subject matter jurisdiction over the claim.” Jones v. Calvert Group, Ltd.,

551 F.3d 297, 300 (4th Cir. 2009) (emphasis added); see also Davis v. N.C. Dep’t of Corr., 48

F.3d 134, 138-40 (4th Cir. 1995) (removal of Title VII claim to federal court improper because



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plaintiff’s failure to exhaust deprived court of subject matter jurisdiction); Chamblee v. Old

Dominion Sec. Co., No. 3:13-cv-820, 2014 U.S. Dist. LEXIS 50726, at *17 (E.D. Va. Apr. 10,

2014) (unpublished)3 (finding court lacked jurisdiction over disparate impact claim where

plaintiff’s EEOC charge alleged he was denied promotion opportunities because of his race and

sex, allegations sounding in disparate treatment).

       For these reasons, “the allegations contained in the administrative charge of

discrimination generally operate to limit the scope of any subsequent judicial complaint.”

Chacko v. Patuxent Inst., 429 F.3d 505, 506 (4th Cir. 2005) (quoting Evans v. Techs.

Applications & Serv. Co., 80 F.3d 954, 962-63 (4th Cir. 1996)). If “the claims raised under Title

VII exceed the scope of the EEOC charge and any charges that would naturally have arisen from

an investigation thereof, they are procedurally barred.” Dennis v. County of Fairfax, 55 F.3d

151, 156 (4th Cir. 1995).

       To this end, the Fourth Circuit has noted that “[t]he factual allegations made in formal

litigation must correspond to those set forth in the administrative charge.” Chacko, 429 F.3d at

506 (finding that “a reasonable investigation of discrete instances of supervisor misconduct not

involving name calling could not be expected to lead to a continuous pattern of nonsupervisory

misconduct which did involve name calling.”); see also Bolt v. Norfolk S. Corp., 22 F. Supp. 2d

512, 517 (E.D. Va. 1997) (denying Plaintiff’s quid pro quo claim where the EEOC charge failed

to mention any pay or promotion issues); Evans v. Williamsburg Technical Coll., No. 4:03-cv-

3939, 2007 U.S. Dist. LEXIS 24259 (D.S.C. Mar. 29, 2007) (unpublished) (finding that plaintiff

failed to exhaust her administrative remedies for a quid pro quo claim where her EEOC charge

stated that she engaged in consensual sex with her superior but did not allege coercion).



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           All unpublished decisions cited herein are attached as Exhibit B.
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       Importantly, the Fourth Circuit has held as recently as last year that in determining what

claims a plaintiff properly alleged before the EEOC, a court “may look only to the charge filed

with that agency.”4 Balas v. Huntington Ingalls Indus., 711 F.3d 401, 407-408 (4th Cir. 2013)

(noting that the intake questionnaire and the letters submitted by the plaintiff to the EEOC cannot

be read as part of a formal discrimination charge without contravening the purposes of Title VII);

Sloop v. Mem’l Mission Hosp., Inc., 198 F.3d 147, 149 (4th Cir. 1999) (“[I]t would be

objectively illogical to view a private letter from a complaining party to the EEOC as

constructively amending a formal charge, given that one of the purposes of requiring a party to

file charges with the EEOC is to put the charged party on notice of the claims raised against it.”);

Craig v. S.C. Dep’t of Health & Envtl. Control, No. 3:08-cv-2113, 2009 U.S. Dist. LEXIS

101884, at *8 (D.S.C. Oct. 6, 2009) (unpublished) (“[C]laims raised in the questionnaire but not

the actual EEOC charge are not properly exhausted” and such claims are ripe for dismissal.);

Middleton v. Motley Rice, LLC, No. 2:08-cv-3256, 2010 U.S. Dist. LEXIS 81242, at *22 (D.S.C.

Aug. 9, 2010) (unpublished) (“A plaintiff cannot be allowed to transfer the allegations mentioned

only in the questionnaire to the [EEOC] charge itself. Not only would this be circumventing the

role of the Commission, but it would be prejudicial to the employer.”); see also Bost v. Fed.

Express Corp., 372 F.3d 1233, 1240-41 (11th Cir. 2004); Novitsky v. Am. Consulting Eng'rs,

LLC, 196 F.3d 699 (7th Cir. 1999).




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         The court’s jurisdictional inquiry concerning the scope of the allegations set forth in the
charge “must be examined from the standpoint of an objective observer to determine whether, by
a reasonable construction of its terms, the filer requests the agency to activate its machinery and
remedial processes.” See Fed. Express Corp. v. Holowecki, 552 U.S. 389, 402 (2008). Indeed,
according to Supreme Court, any inquiry that determines the existence and scope of a charge
pursuant to a charging party’s subjective intent or state of mind “misses the point,” and is
inconsistent with the statutory administrative framework governing federal employment
discrimination claims. Id.
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       While courts have recognized that EEOC charges often are not completed by lawyers and

as such “must be construed with utmost liberality,” they “are not at liberty to read into

administrative charges allegations they do not contain.” Alvarado v. Bd. of Trs. of Montgomery

Cmty. Coll., 848 F.2d 457, 460 (4th Cir. 1988) (quoting Kaplan v. Int’l Alliance of Theatrical &

Stage Emps., 525 F.2d 1354, 1359 (9th Cir. 1975)). “Instead, persons alleging discrimination

have a different form of recourse if they determine that their initial charge does not read as they

intended: they may . . . file an amended charge with the EEOC.” Balas, 711 F.3d at 408.

       1.      Many Critical Allegations Contained in the Third Amended Complaint Are
               Not Reasonably Related to, and Would Not Naturally Have Arisen From,
               Investigation of the Charge.

       Plaintiff acknowledges in the Third Amended Complaint she filed her charge on or about

December 21, 2011. [DE-28, ¶4]. She does not allege, nor does it appear that she can allege,

that she has filed any subsequent amendments to her charge for the purpose of expanding the

scope of her allegations. A plain review of Plaintiff’s charge reveals the limited jurisdictional

scope of her harassment claim. The charge alleges only that “Mr. Lowery would frequently tell

me that he wanted to be with me and that he loved me. Mr. Lowery would at least on a weekly

basis brush up against me sexually.” (Ex. A).

       In contrast, the Third Amended Complaint portrays far more egregious conduct by

Lowery that bears little, if any, resemblance to the limited allegations in the charge. For

instance, the Third Amended Complaint portrays Lowery directing sexually explicit statements

of the most graphic nature toward Plaintiff [DE-28, ¶¶ 9, 10, 13, 16], physical harassing Plaintiff

[DE-28, ¶15], directing inquiries and comments to Plaintiff about the manner in which she

engaged in sexual intercourse with her husband [DE-28, ¶15], and making weekly sexual

advances and solicitations replete with “continuous physical and emotional threats to the



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Plaintiff” [DE-28, ¶11]. More alarmingly, the Third Amended Complaint portrays incredibly

sinister allegations depicting Lowery routinely soliciting Plaintiff for sexual relations premised

upon the threat of termination upon her refusal [DE-28, ¶¶ 17, 18], and even threatening “on a

regular basis, at least once per week” to kill Plaintiff for refusing his advances or reporting them

to management [DE-28, ¶¶12, 18, 26].          These allegations, which clearly form the factual

centerpiece of Plaintiff’s current claim, unquestionably are absent from Plaintiff’s charge. Their

absence deprives this Court of jurisdiction to consider them as part of Plaintiff’s harassment

claim.

         Plaintiff may assert that Smithfield is trying to have it both ways – seeking previously to

dismiss Plaintiff’s prior complaints as lacking in factual specificity, but now claiming the Third

Amended Complaint alleges too much.            But the central issue regarding Plaintiff’s new

allegations is not whether they are factually specific enough to perfect a claim of harassment, but

whether this Court has jurisdiction to consider them in the first place. In this regard, the Eastern

District of Virginia’s recent decision in Porch v. Am. K-9 Interdiction, LLC, No. 2:12-cv-690,

2013 U.S. Dist. LEXIS 128411 (E.D. Va. Sept. 5, 2013) (unpublished) is instructive. In that

case, the plaintiff filed a charge of discrimination alleging sexual harassment and detailing

numerous instances of egregious conduct on the part of her supervisor in support. Id. at *1-9.

Following receipt of her notice of right to sue, the plaintiff filed suit in federal court alleging

various theories of sex-based discrimination and harassment she allegedly endured at the hands

of the defendant employer, including related claims of hostile work environment and quid pro

quo discrimination under Title VII. The defendant employer moved to dismiss plaintiff’s claim

of quid pro quo sexual discrimination under Rule 12(b)(1), asserting that the plaintiff had not

exhausted her administrative remedies. Id. at *10.



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       The district court noted that “Title VII does not itself distinguish between claims of

sexual discrimination based on quid pro quo discrimination and hostile work environment.” Id.

at *15. Nevertheless, the Court refused to allow the plaintiff to proceed with her claims based on

the quid pro quo sexual advances since she did not allege the material facts in support of that

portion of her claim in the charge. Specifically, the court found:

       In her EEOC charge, Plaintiff did check the box indicating that she had been
       subjected to discrimination based on sex. Under the particulars section, Plaintiff
       supported her claims with allegations that she had been harassed by [her
       supervisors], called derogatory names, groped and grabbed in her crotch area, and
       received sexually explicit text messages from [her supervisor]. But nowhere in her
       EEOC charge did Plaintiff allege or even imply that she submitted to [her
       supervisor’s] sexual advances because he expressed that her refusal would
       negatively affect her employment or advancement opportunities. Additionally,
       Plaintiff omitted any mention of sexual intercourse between herself and [her
       supervisor]. Without such an allegation or implication, [the employer] could not
       have been put on notice of the quid pro quo claim raised in her complaint . . .

        . . . Here, it cannot reasonably be inferred that [her supervisor] coerced Plaintiff
       into having sexual intercourse simply because she was subjected to her co-
       workers' unwelcomed conduct or because she was terminated after reporting
       harassment. It is also unlikely the quid pro quo allegation would have followed
       from a reasonable EEOC investigation because Plaintiff did not disclose the
       alleged coerced intercourse until after she filed her Complaint and did not
       imply in the charge that she was threatened with an adverse employment action.

Id. at *16-22.

       The court’s analysis in Porch suggests a similar result should obtain in this case. There,

as here, the plaintiff initiated her administrative charge on a hostile work environment theory of

sex discrimination. There, as here, the charge specifically alleged harassing conduct by a

specific supervisor as grounds for her claim. There, as here, the plaintiff later brought Title VII

claims premised upon conduct by the same supervisor not previously alleged in her charge. Her

omission of those factual allegations in her charge was deemed fatal to the portion of her Title

VII claims premised upon those allegations. That Plaintiff is proceeding under a single claim of



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harassment, rather than a separate, formally pled claim of quid pro quo discrimination like the

plaintiff in Porch, is irrelevant.    Indeed, the graphic sexual comments, constant sexual

solicitations, and weekly threats of reprisal and physical harm for refusing sexual advances

alleged in the Third Amended Complaint represent conduct nearly identical to that found lacking

in Porch. More importantly, at their essence, these allegations represent a manner and form of

harassment that is so wholly distinct from the conduct alleged in Plaintiff’s charge that they can

neither be deemed “reasonably related” to the allegations contained in the charge nor can they

reasonably be expected to follow from any administrative investigation of Plaintiff’s charge

allegations. Thus, as in Porch, their omission from her charge deprives the Court of jurisdiction

over them now.

       2.      Allowing Plaintiff to Support Her Claim of Harassment With the Factual
               Allegations Not Previously Included In Her Predicate Charge Would
               Contravene The Purpose of Title VII’s Administrative Requirements and
               Prejudice Defendant in the Preparation of its Defense.

       Further, Plaintiff’s omission in her predicate charge of the heightened allegations

contained in her Third Amended Complaint directly contravenes the very purpose of the

administrative exhaustion requirements applicable to claims under Title VII. The administrative

exhaustion requirement is integral to the statutory and regulatory framework intended by

Congress in the context of Title VII. Indeed, as the Fourth Circuit explained:

       Congress enacted Title VII's exhaustion requirement with several goals in mind.
       The filing of an administrative charge is not simply a formality to be rushed
       through so that an individual can quickly file his subsequent lawsuit. Rather,
       Congress intended the exhaustion requirement to serve the primary purposes of
       notice and conciliation.

       First, an administrative charge notifies the employer of the alleged discrimination.
       This notice gives the employer an initial opportunity to voluntarily and
       independently investigate and resolve the alleged discriminatory actions. It also
       prevents the employer from later complaining of prejudice, since it has known of
       the allegations from the very beginning.

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       Second, the exhaustion requirement initiates agency-monitored settlement, the
       primary way that claims of discrimination are resolved. Title VII, including the
       creation of the EEOC, reflects a congressional intent to use administrative
       conciliation as the primary means of handling claims, thereby encouraging
       quicker, less formal, and less expensive resolution of disputes. The EEOC's role
       in Title VII is thus critical because it can promote voluntary settlement in a
       manner that a more adversarial process cannot.

Chacko v. Patuxent Inst., 429 F.3d 505, 509 (4th Cir. 2005).

       To this end, the absence of these new claims in Plaintiff’s charge deprived Smithfield of

notice of the full scope of Plaintiff’s allegations during the administrative process and

circumscribed its opportunity to voluntarily and independently investigate and potentially resolve

the alleged harassing actions. The significance of timely and advance notice of the full scope of

the claims and allegations at issue cannot be ignored, and is clearly evident in the administrative

mandates applicable to claims under Title VII. Those mandates require the filing of a charge

within a certain time (usually 180 or 300 days) of the alleged unlawful act, require that a charge

“shall be in writing under oath or affirmation” and deems that a charge is acceptable only if it is

“sufficiently precise to identify the parties, and to describe generally the action or practices

complained of,” require the EEOC provide notice of the charges to the employer within ten days,

authorize the charging party to obtain a notice of right to sue after 180 days from the date of

filing even if the investigation is still pending and not fully exhausted,5 and require that the

charging party timely file any resulting federal claims within 90 days of receipt of that notice.

See generally, 42 U.S.C. § 2000e-5; 29 C.F.R. § 1601.12; 29 C.F.R. § 1601.28. The intent of

these mandates is obvious. A charging party is required to provide full and adequate notice of

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          This requirement underscores the importance of full and complete disclosure of the
facts and allegations intended by the charging party to support the charge since issuance of the
right to sue before the investigation is complete raises the distinct possibility that the full scope
of the allegations at issue, if not expressly included in the charge, will not be revealed and
developed during the course of the EEOC’s investigation.
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the conduct and claims alleged, and to timely and promptly pursue those claims. Failure to do so

contravenes the congressional intent to use administrative conciliation as the primary means of

handling claims, and prejudices the defendant in its opportunity to voluntarily and independently

investigate and resolve the alleged discriminatory actions. Chacko, 429 F.3d at 509.

       These resulting harms are not insignificant, particularly where, as here, the purported

scope and nature of Plaintiff’s allegations has not come to full light for nearly three years

following the filing of her initial charge, and where Smithfield received first notice, upon

Plaintiff’s initial complaint in July 2013, that the full scope of the conduct brought before the

Court dates back to January 2007. The passage of time diminishes witness’ recollection and

poses obstacles to identifying and locating documentation relevant to the allegations. As is often

the case with an employer the size of Smithfield, the employee turnover that inevitably takes

place during the passage of time creates an additional obstacle to locating and interviewing

witnesses. These are the very harms that full and timely notice through the administrative

process are intended to minimize, if not eliminate. Yet, as a result of the Plaintiff’s omission of

these serious allegations from her charge, Smithfield is faced with these obstacles, not in the

context of investigation and conciliation, but in the context of discovery and litigation.

       Plaintiff should not be permitted to pursue claims in her Third Amended Complaint

premised upon facts not previously alleged during the administrative process.                Dorsey v.

Pinnacle Automation Co., 278 F.3d 830, 838 (8th Cir. 2002) (“Allowing a complaint to

encompass allegations outside the ambit of the predicate EEOC charge would circumscribe the

EEOC’s investigatory and conciliatory role, as well as deprive the charged party of notice of the

charge, as surely as would an initial failure to file a timely EEOC charge.”) (emphasis added)

(internal quotation marks and citations omitted). For the reasons stated above, Plaintiff’s failure



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to raise the full scope of her allegations in her predicate charge precludes her from raising them

here. The Court therefore is without subject matter jurisdiction over the portions of her claim

premised upon those allegations and must dismiss them.

C.     The Portion of Plaintiff’s Claim Over Which the Court Has Subject Matter
       Jurisdiction Fails to State a Claim For Sexual Harassment Based on Hostile Work
       Environment.

       What is left of Plaintiff’s Third Amended Complaint must be dismissed for failure to

state a valid claim. To establish a claim of sexual harassment based on hostile work environment

under Title VII, a plaintiff must allege: 1) she was harassed because of her sex; 2) the harassment

was unwelcome; 3) the harassment was sufficiently severe or pervasive to create an abusive

working environment; and 4) there is some basis for imposing liability on the employer. Hartsell

v. Duplex Prods. Inc., 123 F.3d 766, 772 (4th Cir. 1997).

       Under Title VII, the standard for establishing that offending behavior constitutes sexual

harassment is high. Singleton v. Dep’t of Corr. Educ., 115 F. App’x 119, 122 (4th Cir. 2004);

EEOC v. Sunbelt Rentals, Inc., 521 F.3d 306, 315 (4th Cir. 2008) (“[P]laintiffs must clear a high

bar in order to satisfy the severe or pervasive test.”). Conduct is severe or pervasive only where

it “alter[s] the conditions of the victim’s employment and creates an abusive working

environment.” Smith v. First Union Nat’l Bank, 202 F.3d 234, 242 (4th Cir. 2000). “Conduct

that is not severe or pervasive enough to create an objectively hostile or abusive work

environment - an environment that a reasonable person would find hostile or abusive - is beyond

Title VII’s purview.” Harris v. Forklift Sys., Inc., 510 U.S. 17, 21 (1993). To determine

whether a work environment is hostile or abusive, a court looks to all of the circumstances

surrounding the alleged conduct including: 1) the frequency of the discriminatory conduct; 2) its




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severity; 3) whether it is physically threatening or humiliating, or a mere offensive utterance; and

4) whether it unreasonably interferences with an employee’s work performance. Id. at 23.

       Once stripped of the allegations over which this Court has no jurisdiction, Plaintiff’s

Third Amended Complaint does not allege facts sufficient to establish Lowery’s conduct was

severe or pervasive. As set forth above, the facts and allegations upon which Plaintiff can

proceed in support of her claim are jurisdictionally limited to the scope of her charge of

discrimination. Therein, Plaintiff alleged only that Lowery “would frequently tell me he wanted

to be with me and that he loved me,” and that Lowery would “at least on a weekly basis brush up

against [Plaintiff] sexually.” (Ex. A). Plaintiff’s allegations of such conduct in her Third

Amended Complaint, and even those allegations contained therein which this Court could deem

“reasonably related” to the original charge or likely to be “developed by reasonable

investigation” of the original charge for the purpose of assuming subject matter jurisdiction over

them, do not reflect conduct sufficiently severe and pervasive to satisfy her initial burden.

       Decisions supporting this notion are numerous, and are evidenced by the following

examples:

       Shaver v. Dixie Trucking Co., Inc., 181 F.3d 90, 1999 U.S. App. LEXIS 9862
       (4th Cir. May 21, 1999) (unpublished) (supervisor placing his hand on plaintiff’s
       knee during a job interview, rubbing plaintiff’s back and shoulders and putting his
       arm around plaintiff several times did not amount to severe or pervasive conduct);

       Hopkins v. Baltimore Gas & Elec. Co., 77 F.3d 745, 747-48, 753-54 (4th Cir.
       1996) (harassment was not severe or pervasive even though plaintiff alleged his
       supervisor made sexual comments, regularly told him he looked nice, bumped
       into him on numerous occasions, gave him a congratulatory kiss at his wedding
       and stared at him in the bathroom);

       Adusumilli v. City of Chicago, 164 F.3d 353, 361-62 (7th Cir. 1998) (no hostile
       work environment where plaintiff was teased about being a prostitute, subjected
       to sexual innuendo and touched by coworkers on four different occasions on
       either the arm, fingers, or buttocks);



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       Saxton v. AT&T, 10 F.3d 526, 528, 534 (7th Cir. 1993) (two incidents where
       supervisor rubbed his hand along an employee’s upper thigh and kissed her did
       not meet the severe and pervasive standard);

       Weiss v. Coca-Cola Bottling Co. of Chicago, 990 F.2d 333, 337 (7th Cir. 1993)
       (dismissing plaintiff’s sexual harassment claim on summary judgment where the
       plaintiff alleged her supervisor repeatedly asked her about her personal life, told
       plaintiff how beautiful she was, asked plaintiff on dates, called her a dumb
       blonde, put his hand on her shoulder at least six times, placed “I love you” signs
       in her work area and tried to kiss her on three different occasions);

       Murray v. City of Winston-Salem, N.C., 203 F. Supp. 2d 493, 498-99 (M.D.N.C.
       2002) (finding no hostile work environment where supervisor yelled at plaintiff
       during meetings and had an intimidating management style, gave preferential
       treatment to an alleged paramour, made comments about his past sexual
       encounters and rotated his pelvis, kissed paramour in front of plaintiff on two
       occasions, put his arm around plaintiff after she became upset in a meeting, made
       a comment about how plaintiff looked in jeans, touched plaintiff’s thigh twice
       with his thumb during crowded meetings and made “ummm” noises and stared at
       plaintiff as she walked by him).

       In sum, not all gender-based “harassment” is actionable. Hartsell, 123 F.3d at 772 (“Title

VII does not attempt to ‘purge the workplace of vulgarity’”).         ‘“Simple teasing,’ offhand

comments, and isolated incidents (unless extremely serious) will not amount to discriminatory

changes in the ‘terms and conditions of employment’” sufficient to support a claim of hostile

work environment. Faragher v. City of Boca Raton, 524 U.S. 775, 789 (1998) (internal citations

omitted). Although Plaintiff’s allegations concerning Lowery which are appropriately before the

Court might be deemed inappropriate for the work environment, and even offensive to some,

they fall short of that required to state a claim upon which relief can be granted, and should be

dismissed as a result. Given the jurisdictional limitations discussed above, Smithfield can

conceive of no set of facts reasonably related to the remaining allegations which would be

sufficiently severe and/or pervasive to warrant further amendment by the Plaintiff.




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                                       CONCLUSION

       For the reasons stated above, Defendant respectfully requests that the Court grant its

Motion to Dismiss and dismiss Plaintiff’s Complaint with prejudice.

       Respectfully submitted this 26th day of September, 2014.

                                            SMITHFIELD FARMLAND CORP.


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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 26th day of September, 2014, a true and correct copy of

the foregoing was filed with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to the following:

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                                                /s/ Melissa A. Romanzo______
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